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IN THE UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF COLORADO

FILEB
Civil Action No. 09-cv-01169-BNB Se NER Oe ERICT COURT
SOLOMON B. COHEN, JUN 0 2 2009
Plaintiff, GREGORY C. LANGHAM
CLERK

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JOHN LONGSHORE, Field Office Director, Dept. of Homeland Security, Denver, State
of Colorado,

CAPT. DAN MULDOON, Jail Administrator, Park County Jail,

FRED WEGENER, Sheriff, Park County Jail,

MONTE GORE, Undersheriff, and

WARDEN OF PARK COUNTY JAIL (name unknown),

Defendants.

 

ORDER DIRECTING PLAINTIFF TO FILE AMENDED COMPLAINT

 

Plaintiff, Solomon B. Cohen, is being detained at the Park County Jail in Fairplay,
Colorado. Mr. Cohen has filed pro se two slightly different versions of a Prisoner
Complaint alleging that his rights under the United States Constitution have been
violated. The court must construe the Prisoner Complaints liberally because Mr. Cohen
is not represented by an attorney. See Haines v. Kerner, 404 U.S. 519, 520-21
(1972); Hall v. Bellmon, 935 F.2d 1106, 1110 (10" Cir. 1991). However, the court
should not be an advocate for a pro se litigant. See Half, 935 F.2d at 1110. For the
reasons stated below, Mr. Cohen will be ordered to file an amended complaint.

Although the two Prisoner Complaints filed by Mr. Cohen assert the same claims
for relief, the two complaints are not identical. The most obvious difference is that one

of the complaints includes a number of pages of attachments that are not included with
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the other complaint. Therefore, in order to avoid any potential confusion in this action
and to ensure that the court and all of the parties are addressing the sarne pleading,
Mr. Cohen will be directed to file an amended complaint. Mr. Cohen is advised that any
copies he provides of the amended complaint must be identical to the amended
complaint. Accordingly, it is

ORDERED that Mr. Cohen file an amended complaint within thirty (30) days
from the date of this order. It is

FURTHER ORDERED that the clerk of the court mail to Mr. Cohen, together with
a copy of this order, two copies of the following form: Prisoner Complaint. It is

FURTHER ORDERED that, if Mr. Cohen fails within the time allowed to file an
amended complaint that complies with this order to the court’s satisfaction, the action
will be dismissed without further notice.

DATED June 2, 2009, at Denver, Colorado.

BY THE COURT:

s/ Boyd N. Boland
United States Magistrate Judge
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IN THE UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF COLORADO

CERTIFICATE OF MAILING

Civil Action No. 09-cv-01169-BNB

Solomon B. Cohen

Prisoner No. A0261647
Alien No. 77309675

Criminal Justice Center
2739 East Las Vegas St.
Unit 2F3C4B

Colorado Springs, CO 80906

| hereby certify that | have mailed a copy of the ORDER and two copies of the
Prisoner Complaint to the above-named individuals on

GREGORY C,PLANGH

 
